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 6 Los Angeles, California 90067-6006
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 8 Attorneys for Plaintiff and
   Counterdefendant Michael A. McConnell,
 9 Chapter 11 Trustee
10                           UNITED STATES BANKRUPTCY COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12                                      NORTHERN DIVISION
13 In re                                                Case No. 9:19-bk-11573-MB
14 HVI CAT CANYON, INC.,                                Chapter 11
15                     Debtor.
16                                                      Adv. No. 9:20-ap-01011-MB
   MICHAEL A. McCONNELL,
17 CHAPTER 11 TRUSTEE,                                  ORDER APPROVING
                                                        STIPULATION AMONG TRUSTEE,
18                     Plaintiff,                       GOODWIN “A” MINERAL
                                                        OWNERS GROUP, FRANK M.
19            vs.                                       BOISSERANC AND SYLVIA S.
                                                        BOISSERANC AS TRUSTEES OF
20 DONNA JEAN AANERUD, an                               THE FRANK AND SYLVIA
   individual;                                          BOISSERANC TRUST,
21 RICHARD W. ACKERMAN, Trustee;                        WALDO A. GILLETTE JR.,
   JANE A. ADAMS, an individual;                        PRESSON VERA OC LAND
22 JOHN S. ADAMS, an individual;                        GROUP, A CALIFORNIA
   CHARLES C. ALBRIGHT, Trustee                         UNINCORPORATED
23 Under Trust of 5/20/76;                              ASSOCIATION, AND UBS AG
   OTHER DEFENDANTS LISTED ON                           LONDON BRANCH TO EXTEND
24 EXHIBIT “1” HERETO and                               DEADLINE TO RESPOND TO
   DOES 1-100, et al.,                                  COUNTERCLAIMS AND
25                                                      CROSSCLAIMS
               Defendants.
26                                                      Date: May 19, 2020
                                                        Time: 10:30 a.m.
27 GOODWIN “A” MINERAL OWNERS                           Crtrm.: 201
   GROUP,                                                       1415 State Street
28         Counterclaimant,                                     Santa Barbara, CA 93101
     1581785.1 26932                                1
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 1
              vs.
 2
   MICHAEL A. McCONNELL,
 3 CHAPTER 11 TRUSTEE,
 4             Counterdefendant.
   GOODWIN “A” MINERAL OWNERS
 5 GROUP,
               Crossclaimant,
 6
         vs.
 7
   UBS AG London Branch, CTS
 8 Properties LTD, Diamond McCarthy
   LLP and GIT, INC,
 9
               Crossdefendants.
10
11 FRANK M. BOISSERANC and
   SYLVIA S BOISSERANC as
12 TRUSTEES OF THE FRANK AND
   SYLVIA BOISSERANC TRUST,
13
14                     Counterclaimants,
15            vs.
16 MICHAEL A. McCONNELL,
   CHAPTER 11 TRUSTEE,
17
            Counterdefendant.
18
19 WALDO A. GILLETTE JR.,
20
                       Counterclaimant,
21
              vs.
22
   MICHAEL A. McCONNELL,
23 CHAPTER 11 TRUSTEE,
24                     Counterdefendant.
25 WALDO A. GILLETTE JR.,
26
                       Crossclaimant,
27
              vs.
28
     1581785.1 26932                             2
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 1 UBS AG, LONDON BRANCH and
   GIT, INC.,
 2
                Crossdefendants.
 3
   PRESSON VERA OC LAND GROUP,
 4 a California Unincorporated
   Association,
 5
 6                     Counterclaimant,
 7            vs.
 8 MICHAEL A. McCONNELL,
   CHAPTER 11 TRUSTEE,
 9
            Counterdefendant.
10
11
12            The Court having read and considered the Stipulation Among Trustee,
13 Goodwin “A” Mineral Owners Group, Frank M. Boisseranc and Sylvia S.
14 Boisseranc as Trustees of the Frank and Sylvia Boisseranc Trust, Waldo A. Gillette
15 Jr., Presson Vera OC Land Group, a California unincorporated association, and
16 UBS AG, London Branch to Extend Deadline to Respond to Counterclaims and
17 Crossclaims (the “Stipulation”), submitted by Plaintiff and Counterdefendant
18 Michael A. McConnell, the Chapter 11 trustee (the “Trustee”) for the estate of HVI
19 Cat Canyon, Inc., Defendants, Counterclaimants, and Crossclaimants Goodwin “A”
20 Mineral Owners Group (the “Goodwin “A” Defendants”), Frank M. Boisseranc and
21 Sylvia S. Boisseranc as Trustees of the Frank and Sylvia Boisseranc Trust (the
22 “Boisseranc Trust Defendants”), Waldo A. Gillette Jr. (the “Gillette Defendant”),
23 and Presson Vera OC Land Group, a California unincorporated association (the
24 “Presson Vera Defendants”), and Crossdefendant UBS AG, London Branch; good
25 cause appearing therefor, it is hereby
26
27
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 1            ORDERED THAT:
 2               1.    The Stipulation is approved.
 3               2.    The Court hereby (a) extends the deadline for the Trustee and UBS,
 4 AG London Branch to respond to the counterclaims and crossclaims of the Goodwin
 5 “A” Defendants to June 15, 2020, and (b) extends the deadline for the Trustee and
 6 UBS, AG London Branch to respond to the counterclaims and/or crossclaims of the
 7 Boisseranc Trust Defendants, Gillette Defendant, and Presson Vera Defendants to
 8 the later of 21 days after service of such counterclaims and/or crossclaims or June 15,
 9 2020.
10               3.    This Order is entered without prejudice to further requests of any of
11 the parties to the Stipulation.
12                                              ####
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23    Date: May 4, 2020
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